Case 4:20-cv-00968 Document 57 Filed on 06/16/21 in TXSD Page 1 of 6
                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                  June 16, 2021
                                                               Nathan Ochsner, Clerk
Case 4:20-cv-00968 Document 57 Filed on 06/16/21 in TXSD Page 2 of 6
Case 4:20-cv-00968 Document 57 Filed on 06/16/21 in TXSD Page 3 of 6
Case 4:20-cv-00968 Document 57 Filed on 06/16/21 in TXSD Page 4 of 6
Case 4:20-cv-00968 Document 57 Filed on 06/16/21 in TXSD Page 5 of 6
Case 4:20-cv-00968 Document 57 Filed on 06/16/21 in TXSD Page 6 of 6
